TIMFse 5:23-C¥R90802 Bocument 172-6 PPRBY 04/28/25 Page 1 of 1 PagelD #: 5194

09/28/2023 Email Sent statefarmclaims@sta State Farm,
9:12 AM tefarm.com

Snapsheet has received a supplement for claim # 48-40L8-41C01. T
he supplement amount has increased the repair cost to $9,749.12, w
hich would now make the 2014 Keystone MOUNTAINEE a total loss.

Vehicle is a potential total loss, based on the following:

$30,749.12 is the potential cost to repair this 2014 Keystone MOUNT
AINEE.

This amount is based on:
$9,749.12 Estimate Amount

$21,000.00 Potential Hidden Damage

The total loss threshold was determined using the following:
$31,671.00 ACV
$0.00 Salvage Return

$23,753.25 Total Loss Threshold (State)

Repair Facility:

Bam Sales Llc D.B.A. Jennings Rv Sales
506 MOUNT HOREB RD

Princeton, WV 24739

304-487-0495

We have notified the repair facility and advised not to proceed with re
pairs. Please respond to this email to confirm you have received this i
nformation and will be processing the 2014 Keystone MOUNTAINEE a
s a total loss.

Regards,
Victoria Echevarria
Snapsheet Supplement Department

Snapsheet, Inc.

09/28/2023 phone adjuster OBC to SF: SF handling rep Joyce Thomas 972-744-1844 ( T7F9) she
9:06 AM advised the claim is being handled by the Total loss team , okay to
lock ccc estimate and upload as TL.

09/22/2023 other adjuster set f.u
12:24 PM

SNAPSHEET-000083
